     Case 4:16-cr-00551 Document 74 Filed on 04/07/20 in TXSD Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
v.                                         §          CRIMINAL NO. H-16-551
                                           §
PEGGY FULFORD                              §

               RESPONSE OF THE UNITED STATES TO
          DEFENDANT’S REQUEST FOR HOME CONFINEMENT

      The United States of America, by and through Ryan K. Patrick, United

States Attorney for the Southern District of Texas, and Belinda Beek, Assistant

United States Attorney, opposes defendant’s request that she be released and

responds as follows:

                                            I.

      On November 7, 2018, this Court sentenced defendant to 120 months in

prison after defendant pleaded guilty to one count of interstate transportation of

stolen property that involved several professional athletes.

      Defendant mailed a letter to the Court that was docketed on March 31, 2020

as docket entry #73. The letter is, in fact, a Motion for Compassionate Release. In

the letter, defendant acknowledges that she is only in month 17 of a 120-month

sentence, but asks that she be released on home confinement for the remainder of

her sentence (i.e., the next eight and a half years) to care for her 86 year old father
     Case 4:16-cr-00551 Document 74 Filed on 04/07/20 in TXSD Page 2 of 5




who lives in New Orleans because defendant claims “…prior to my incarceration I

was his primary and only caregiver.”

                                           II.

        A defendant seeking compassionate release must comply with 18 USC §

3582(c)(1)(A) and defendant has not done so. The statute requires that a request

for compassionate release be presented first to the Bureau of Prisons (BOP) for its

consideration. Only after 30 days have passed, or the defendant has exhausted all

administrative rights to appeal BOP’s failure to move on the defendant’s behalf,

may a defendant move for compassionate relief in court. That restriction is

mandatory. The compassionate release statute provides, in pertinent part:

The court may not modify a term of imprisonment once it has been imposed except

that—

   (1) In any case—

   (A) the court, upon motion of the Director of the Bureau of Prisons, or upon

        motion of the defendant after the defendant has fully exhausted all

        administrative rights to appeal a failure of the Bureau of Prisons to bring a

        motion on the defendant’s behalf or the lapse of 30 days from the receipt of

        such a request by the warden of the defendant’s facility, whichever is

        earlier, may reduce the term of imprisonment…18 USC § 3582(c)(1)(A)
     Case 4:16-cr-00551 Document 74 Filed on 04/07/20 in TXSD Page 3 of 5




                                        III.

      Defendant has failed to comply with 18 USC § 3582(c)(1)(A)’s exhaustion

requirement: the BOP has not had thirty days to consider Fulford’s request to move

for compassionate release on her behalf nor has Fulford administratively exhausted

any adverse decision by BOP.

      Fulford’s motion is premature. However, the United States disputes

defendant’s caregiver assertion and notes that defendant’s bond was revoked prior

to sentencing because, among other things, defendant was suspected of defrauding

her elderly father while on bond [See Docket Entry #37—Gov’s Motion to Revoke

Bond] Additionally, this Court already rejected defendant’s “caregiver” argument

at sentencing. The only thing different from defendant’s prior argument is the

existence of COVID-19. Motions based on the mere existence of COVID-19 in

society cannot independently justify compassionate release and “strict compliance

with § 3582(c)(1)(A)’s exhaustion requirement takes on added—and critical—

importance.” United States v. Raia, 2020 WL—(3d Cir. Apr. 2, 2020)(citations

omitted).

                                        IV.

      Because the restrictions of § 3582(c)(1)(A) are mandatory, the Court lacks

authority to act on defendant’s motion for compassionate release at this time. The

United States therefore respectfully asks that the Court deny defendant’s request.
Case 4:16-cr-00551 Document 74 Filed on 04/07/20 in TXSD Page 4 of 5




                                    Respectfully submitted,

                                    RYAN K. PATRICK
                                    UNITED STATES ATTORNEY
                                    SOUTHERN DISTRICT OF TEXAS


                                    By:

                                    /s/ Belinda Beek
                                    Belinda Beek
                                    Assistant United States Attorney
     Case 4:16-cr-00551 Document 74 Filed on 04/07/20 in TXSD Page 5 of 5




               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA               §
                                       §
v.                                     §         CRIMINAL NO. H-16-551
                                       §
PEGGY FULFORD                          §


                                    ORDER

      The Court having considered the defendant’s request for release to home

confinement and the response of the United States hereby DENIES defendant’s

request.



                               ____________________________
                               KEITH P. ELLISON
                               UNITED STATES DISTRICT JUDGE
